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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
KEBRAN ALEXANDER, §
§
Plaintiff, §
§ CIVIL ACTION NO.:
v. §
§
INTERNATIONAL BUSINESS §
MACHINES, INC., § JURY TRIAL DEMANDED
| ro §
Defendant.

PLAINTIFF’S ORIGINAL COMPLAINT
TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, Plaintiff Kebran Alexander suing Defendant International Business
Machines, Inc. (“Defendant” or “IBM”), alleging violations of the Americans With Disabilities
Act, 42 U.S.C. §12101 ef seg. as amended by the ADA Amendments Act of 2008 “@ADAAA”),
and the Texas Commission on Human Rights Act, Texas Labor Code §21.001 et seq.
(“TCHRA”). In support of his claims, Plaintiff respecttully states:

I. INTRODUCTION

1, This is a case alleging disability and discrimination as well as retaliation for
seeking reasonable accommodations. In this case, IBM deliberately chose not to follow expert
advice regarding reasonable accommodations for Plaintiff. Instead, IBM removed Plaintiff
involuntarily from a job where he was exceeding his annual sales quota and had recently been
given a substantial cash bonus based upon his last quarter’s excellent performance. All the
required administrative prerequisites to filing this action have been accomplished and this action

is timely filed.

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PARTIES
2. Plaintiff is an individual who resides in the City of Dallas, Dallas County, Texas.
3, At all material times, Plaintiff worked as a digital (business) development
representative for IBM.
4, Defendant International Business Machines, Inc., at all pertinent times, was the
“employer” of Plaintiff Kebran Alexander.
5. Defendant International Business Machines, Inc. is an active foreign for-profit

corporation that is authorized to do business in Texas and is doing business in Texas, Defendant
has corporate headquarters located at 1 New Orchard Road, Armonk, New York 10504-1722.
Defendant may be served with process by serving its Texas Registered Agent for service, CT
Corp. System, 1999 Bryan St., Suite 900, Dallas, Dallas County, Texas 75201-3136.
II. JURISDICTION

6. This Court has subject matter jurisdiction because Plaintiff is asserting claims
arising under federal law. Specifically, Plaintiff is asserting claims arising under the ADAAA.
This Court, therefore, has jurisdiction pursuant to 28 U.S.C, §1331.

UI. VENUE

7. Venue is proper in the Dallas Division of the United States District Court for the
Northern District of Texas because a substantial part of the events or omissions giving rise to the
claims occurred in the District. Venue is therefore proper under 28 U.S.C. §1391(b)

TV. SUMMARY OF FACTS
8. Plaintiff is an African-American male, age 51.
9, Plaintiff started to work for IBM on May 19, 2014, and he was terminated on

March 10, 2017.

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10. Plaintiffs job title at the time of his termination was “digital (business)
development representative.” He emphasized federal business at the direction of and with the
approval of his supervisor. In the year 2016, Plaintiff achieved 101% of his assigned annual
target for sales.

11. Plaintiff had a history, starting on or about June 1, 2016, of seeking
accommodations to his disability. Specifically, Plaintiff had difficulty processing information,
moving from one task fo another task, and needed to momentarily reset between tasks.

12. Plaintiff was evaluated by IBM in response to his request for accommodations by
Dr. Jesse C. Ingram, who is a psychologist. Dr. Ingram supported Plaintiff's request for
accommodations in a report dated September 27, 2016, a copy of which is attached hereto as
Exhibit “A.” IBM did not implement Dr. Ingram's recommendations, which included a different
work environment and/or job roles.

13. Plaintiff was also evaluated in response to his request for accommodations by a
contractor of IBM Disability Services. The evaluator was Vladimir Valcourt. To stay within his
existing job, Plaintiff was told by his supervisor that Mr. Valcourt recommended in November
20 16 that Plaintiff be provided one or more assistants. Plaintiff was also told that IBM definitely
would not provide him any assistants. Plaintiff was not provided a copy of any communications
to or from Vladimir Valcourt by IBM.

14,. Instead of accommodating Plaintiff in any of the ways recommended, Plaintiff
was advised on or about December 8, 2016, that he was losing his job and had until January 31,
2017, to locate, be hired, and be in-role already transferred to another position within IBM. This
deadline was compictely unrealistic because of year-end close activities, vacations, and the

holiday season. Nevertheless, Plaintiff made applications and requested an extension of time,

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which was granted until February 28, 2017.

15. On February 15, 2017, Plaintiff received notice of a fourth quarter performance
bonus (based specifically upon Q4 2016). The performance bonus paid to him was in the
amount of $10,209.18.

16. On February 16, 2017, Plaintiff noted to Defendant in writing that IBM was not
assisting him with placement in a vacant position, and also, not accommodating him in his
present position. Plaintiff asked for an additional extension of time. Plaintiff also specifically
noted for Defendant the section of the Equal Employment Opportunity Commission Website
identifying and addressing reassignment as a reasonable accommodation and specifically
inquired how that might apply to his circumstances. (See Exhibit “B” attached hereto.)

17. Plaintiff continued to apply for vacancies. For example, on February 25, 2017,
Plaintiff applied for multiple positions where he knew by his own research that he met the posted
job requirements. Plaintiff also provided Human Resources a “skills map” as requested.

18. On March 3, 2017, Plaintiff was advised by Alicia King, Senior Human
Resources Partner, that no IBM job was available for him, either because the positions were
closed, or, in one case, she had determined in conversation with a manager, in which Plaintiff did
not participate, that his “skill set” did not match the position. Plaintiff responded the same day
by noting in writing that the positions Ms. King said were closed were in fact open in the IBM
computer system and receiving applications. (See Exhibit “C” attached hereto.)

19. On March 6, 2017, Ms. King stated in writing that, "roles are not showing up for
me." Nevertheless, she confirmed that the talent manager had advised her that, "roles are indeed
open." She was to advise Plaintiff further. (See Exhibit “D” attached hereto.) That did not

happen.

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20. On March 9, 2017, Plaintiff requested another extension of time to relocate within
IBM based upon hearing nothing from Human Resources about the roles that had been
confirmed by Human Resources to be open.

21. On March 10, 2017, Plaintiff was told by his Manager, Ramsey Bradberry, that he
was terminated from IBM and that he had no appeal rights. |

22. On March 10, 2017, Alicia King, of Human Resources, advised Plaintiff that the |

termination decision “still stands.”

VI. CAUSE OF ACTION: CLAIMS UNDER THE ADAAA AND TCHRA

23. Plaintiff adopts and incorporates herein by reference all preceding paragraphs.

24, Defendant violated the ADAAA and the TCHRA by refusing to accommodate
Plaintiff's disability, by initiating, then setting aside the required interactive process with
Plaintiff, and by taking numerous adverse actions against Plaintiff because of his disability and
specifically because he tried to obtain reasonable accommodations. 42 U.S.C. § 12101 et seq.; TEX.
LABOR CODE § 21.001 et seq.

25. Under federal and state law, it is unlawful for an employer to discriminate or
retaliate against any individual because that individual seeks reasonable accommodations to a
disability as defined by law.

26. Defendant is an employer under the ADA as amended and TCHRA. Defendant
is engaged in an industry affecting commerce and had more than 15 employees in each of 20 or
more calendar weeks during the year in which Plaintiff was terminated, or in the preceding
calendar year.

27, ‘At all times relevant to this suit, Plaintiff was a qualified individual with a

disability, was a qualified individual with a record of a disability or was regarded by the

 

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Defendant as a person with a disability.

28. Plaintiff was qualified for and could perform the essential functions of his job at
the time of his termination, with reasonable accommodations. |

29, As alleged above in detail, Plaintiff was objectively meeting his employer’s
expectations, including exceeding his annual sales quota and obtaining a substantial cash bonus of
over $10,000.00 for his last quarter’s performance.

30. Plaintiff was terminated as a direct result of his requests for accommodations, his
disability, his record of having a disability, and/or because Defendant regarded Plaintiff as a
person with a disability.

31. Defendant violated both the ADA as amended and TCHRA by intentionally
refusing to accommodate Plaintiff’s disability, deliberately retaliating against him for seeking
accommodations, and by discriminating against Plaintiff because of his disability. Plaintiffs
disability, record of having a disability, and/or Defendant’s perception regarding Plaintiff as a
person with a disability was a determining or motivating factor in each of Defendant’s adverse
employment actions against Plaintiff.

VIL DAMAGES
32, As a result of Defendant’s unlawful conduct, Plaintiff has suffered economic
and actual damages, including past and future lost income, back wages, interest on back pay and
front pay, future wages or front pay, lost earnings in the past and future, lost benefits under the
contract or employment relationship, employment benefits in the past, and employment benefits in
the future. Plaintiff has also incurred other actual damages as a result of Defendant’s unlawful
conduct, including but not limited to past and future pecuniary losses, emotional pain and

suffering, inconvenience, mental anguish, loss of earning capacity, loss of enjoyment of life,

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injury to professional standing, injury to character and reputation, and other pecuniary and non-
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pecuniary losses.

VII. COMPENSATORY DAMAGES

33. Defendant intentionally engaged in an unlawful employment practice by refusing
to accommodate: Plaintiffs disability refusing to follow expert recommendations, and by
discriminating against Plaintiff because of his disability, his record of having a disability, and/or
because Defendant regarded Plaintiff as being disabled. Plaintiff additionally brings suit for
compensatory damages, including emotional pain and suffering, inconvenience, mental anguish,
loss of enjoyment of life, injury to professional standing, injury to character and reputation, injury
to credit standing, lost earning capacity in the past and future, and other pecuniary and non-

pecuniary losses.

TX. PUNITIVE DAMAGES

34. The conduct committed by Defendant against Plaintiff is the type of conduct
demonstrating malice or reckless indifference to the federal and state rights of the Plaintiff.
Therefore, Plaintiff additionally brings suit for punitive damages.

X. ATTORNEYS’ FEES AND EXPERT FEES

35. Plaintiff secks all reasonable and necessary attorneys’ fees in this case, including
preparation and trial of this lawsuit, post-trial, pre-appeal legal services, and any appeals. Plaintiff

additionally brings suit for expert fees.

XI, DEMAND FOR JURY TRIAL

36. Plaintiff demands a trial by jury of all the issues in this case and tenders herewith the

requisite jury fee.

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XII,

PRAYER FOR RELIEF

37. WHEREFORE, cause having been shown, Plaintiff prays for, on trial of this

just cause, judgment against Defendant as follows:

a. All actual damages, including but not limited to past and future lost wages, past and

future lost benefits, lost benefits of contract;

b. Compensatory damages;

c. Punitive damages;

e Pre-judgment and post-judgment interest as allowed by law;

f. Court costs and expenses, and litigation expenses, including but not limited

to the expenses for any expert witnesses;

g. Equitable relief, including front pay;

h. Attorneys’ fees; and

i. Any such further relief as the Court deems proper and just under the circumstances.

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Respectfully submitted,

/siJohn FE. Schulman

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